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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on November 13, 2020

UNITED STATES OF AMERICA : CRIMINAL NO.
v. : UNDER SEAL
FRANCISCO PULIDO CORACERO, —.- : 21 U.S.C. §§ 959(a), 960, and 963
. : (Conspiracy to Manufacture and Distribute
also known as “Don Puli” and : : Five Hundred Grams or More of
“Pepino,” and : Methamphetamine for Importation into the
United States)
CARLOS ALGREDO VAZQUEZ,
: 21 U.S.C. §§ 959(b), 960, and 963
Defendants. : (Conspiracy to Distribute a Listed Chemical
: for the Manufacture or Unlawful Importation
of a Controlled Substance)

18 U.S.C. § 2 (Aiding and Abetting)

21 U.S.C. §§ 853 and 970
(Forfeiture)

INDICTMENT
The Grand Jury charges that:

COUNT ONE

Beginning in or around 201 1, and continuing thereafter, up to and including the time of the
filing of this Indictment, the exact dates being unknown to the Grand Jury, in the countries of |
Mexico, the United States, and elsewhere, the Defendants Francisco PULIDO CORACERO,
also known as “Don Puli” and “Pepino,” and Carlos ALGREDO VASQUEZ, together with
others known and unknown to the Grand Jury, did knowingly, intentionally, and willfully combine,
conspire, confederate and agree to manufacture and distribute five hundred (500) grams or more

of a mixture. or substance containing a detectable amount of methamphetamine, a Schedule II
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controlled substance, intending, knowing, and having reasonable cause to believe that such
substances would be unlawfully imported into the United States, in violation of Title 21, United
States Code, Sections 959(a) and 960, all in violation of Title 21, United States Code, Section 963
and Title 18, United States Code, Section 2.

With respect to each Defendant, the controlled substances involved in the

-conspiracy attributable to them as a result of their own conduct, and the conduct of other

conspirators reasonably foreseeable to them is five hundred (500) grams or more of a
mixture or substance containing a detectable amount of methamphetamine, in violation of
Title 21, United States Code, Section 960(b)(1)(H).

(Conspiracy to. Manufacture and Distribute 500 Grams or More of

Methamphetamine, Intending, Knowing, and Having Reasonable Cause to Believe ©

That Such Substances Would be Unlawfully Imported into the United States, in

violation of Title 21, United States Code, Sections 959(a), 960(b)(1)(H) and 963;

and Title 18, United States Code, Section 2.)

COUNT TWO

Beginning in or around 2011, and continuing thereafter, up to and including the time of the
filing of this Indictment, the exact dates being unknown to the Grand Jury, in the countries of
Mexico, the United States, and elsewhere, the Defendants Francisco PULIDO CORACERO,
also known as “Don Puli” and “Pepino,” and Carlos ALGREDO VASQUEZ, together with
others known and unknown to the Grand } ury, did knowingly, intentionally, and willfully combine,
conspire, confederate and agree to distribute List I chemicals, that is methylamine, nitroethane,
phenylacetic acid, and others, and List iI chemicals, that is toluene, acetone, and others, intending
and knowing that such chemicals would be used to manufacture a controlled substance, that is

methamphetamine, a Schedule II controlled substance, and intending, knowing, and having

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reasonable cause to believe that the controlled substances would be unlawfully imported into the

United States, in violation of Title 21 , United States Code, Sections 959(b) and 960, all in violation

of Title 21, United States Code, Section 963 and Title 18, United States Code, Section 2.
(Conspiracy to Distribute a Listed Chemical for Manufacture of a Controlled

Substance, in violation of Title 21, United States Code, Sections 959(b), 960, and
963; and Title 18, United States Code, Section 2.)

FORFEITURE ALLEGATION

The United States hereby gives notice to the Defendants that upon conviction of the Title
21 offenses alleged in Counts One and Two of this Indictment, the government will seek forfeiture
in accordance with Title 21, United States Code, Sections 853 and 970, of all property constituting .
or derived from any proceeds the Defendants obtained directly or indirectly as the result of the
alleged Title 21 violations, and all property used or intended to be used in any manner or part to
commit, and to facilitate the commission of such offense.
If any of the above-described forfeitable property, as a result of any act or omission of the
Defendants:
(a) cannot be located upon the exercise of due diligence;
(b) has been transferred or sold to, or deposited with, a third person;
(c) _ has been placed beyond the jurisdiction of the Court,
(d) has been substantially diminished in value; or
(e) has been commingled with other property which cannot be subdivided
without difficulty;
it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p) to seek
forfeiture of any other property of the Defendants up to the value of the above forfeitable property. .

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(Criminal Forfeiture, in violation of Title 21, United States Code, Sections 853 and 970.)

By:

A TRUE BILL:

Foreperson

ARTHUR. WYATT ‘
Chief

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